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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )             Crim. No. 08-00739 (02) SOM;
                               )             Civ. No. 13-00484 SOM/RLP
           Plaintiff,          )
                               )             ORDER DECLINING TO ISSUE
      vs.                      )             CERTIFICATE OF APPEALABILITY
                               )
 JOHN GOUVEIA, JR. (02),       )
                               )
           Defendant.          )
 _____________________________ )

        ORDER DECLINING TO ISSUE CERTIFICATE OF APPEALABILITY

            On November 10, 2016, Petitioner John Gouveia, Jr.,

 renewed his request for a certificate of appealability.               This

 court declines to issue a certificate of appealability because

 this court has made no ruling to which the certificate of

 appealability procedure even applies.

            Gouveia’s renewal of his request for a certificate of

 appealability is apparently prompted by a notice he received from

 the Clerk’s Office of the United States Court of Appeals for the

 Ninth Circuit.    That notice, dated September 30, 2016, included

 the following statement: “A briefing statement will not be set

 until the district court and, if necessary, this court determine

 whether a certificate of appealability should issue.”

 Notwithstanding this statement in the notice sent to Gouveia,

 this court received no direction from the Ninth Circuit

 indicating that this court was to consider whether to issue a

 certificate of appealability.          Indeed, until, in the papers he

 filed with this court on November 10, 2016, Gouveia mentioned the
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 Ninth Circuit’s notice referring to a certificate of

 appealability, this court was not even aware that there was any

 issue regarding a certificate of appealability.                This court was

 instead of the belief that no ruling concerning a certificate of

 appealability was required from this court.

            At the heart of Gouveia’s renewed request for a

 certificate of appealability is his belief that this court has

 denied a motion he brought under Rule 60(b) of the Federal Rules

 of Civil Procedure.     There is no dispute that Gouveia did file a

 motion styled as being brought under Rule 60(b).                That motion

 sought reconsideration of this court’s denial in 2014 of his

 first motion brought under 28 U.S.C. § 2255.                Both this court and

 the Ninth Circuit had declined in 2014 to issue certificates of

 appealability with respect to the denial of Gouveia’s first

 § 2255 motion.    With respect to Gouveia’s Rule 60(b) motion,

 filed in 2015, this court did not actually either grant or deny

 the motion.    Instead, this court construed the motion as a second

 or successive § 2255 motion.      In accordance with § 2255(h) and

 Ninth Circuit Rule 22-3(a), this court then transferred the

 purported Rule 60(b) motion to the Ninth Circuit for that court’s

 consideration of whether to certify Gouveia’s second or

 successive motion under § 2255(h).            In an order filed on March

 27, 2016, this court set forth the background for this transfer




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 and this court’s reasoning.         See ECF No. 596 (in Crim. No. 08-

 00739 SOM).

            In renewing his request for a certificate of

 appealability, Gouveia cites United States v. Winkles, 795 F.3d

 1134 (9th Cir. 2015), for the proposition that a certificate of

 appealability is required for an appeal from the denial of a Rule

 60(b) motion.    In Winkles, the Ninth Circuit said, “We

 conclude–in keeping with the Supreme Court’s holding in Harbison,

 the text of section 2253(c), and the policy underlying the

 statute–that a COA is required to appeal the denial of a Rule

 60(b) motion for relief from judgment arising out of the denial

 of a section 2255 motion.”         Id. at 1142.         But the Ninth Circuit

 also recognized that not everything that might be labeled a Rule

 60(b) motion was necessarily a “legitimate” Rule 60(b) motion.

            The Ninth Circuit in Winkles cited Gonzalez v. Crosby,

 545 U.S. 524 (2005), for its discussion of when a litigant is

 bringing a “legitimate” Rule 60(b) motion.                    A “legitimate” Rule

 60(b) motion is one that attacks “some defect in the integrity of

 the federal habeas proceedings.”             Winkles, 795 F.3d at 1141.           By

 contrast, a motion that asserts a federal basis for relief from a

 judgment of conviction is treated as a second or successive

 habeas petition.        Id.   The parties in Winkles agreed that the

 petitioner in that case was bringing a “legitimate” Rule 60(b)

 motion.   Id.   Nor was there any dispute that the “legitimate”


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 Rule 60(b) motion had been denied.             These facts make Winkle

 distinguishable from the situation Gouveia presents.

             First, Gouveia has not filed a “legitimate” Rule 60(b)

 motion.    Instead, he has filed a second or successive § 2255

 motion.    Gouveia therefore requires the Ninth Circuit’s

 certification to proceed, not a certificate of appealability from

 this court.

             Second, this court has not denied Gouveia’s purported

 Rule 60(b) motion.      This court has transferred the motion without

 ruling on it.    In transferring the motion, this court expressly

 recognized that it lacked jurisdiction to rule on the motion.

 See ECF No. 596 (in Crim. No. 08-00739 SOM), Page ID # 10549

 (referring to jurisdictional bar in § 2255(h)(2) to district

 court consideration of second or successive motion and citing

 Ezell v. United States, 778 F.3d 762 (9th Cir. 2015), to that

 effect).

             To the extent the Ninth Circuit may be waiting for a

 determination by this court on whether to issue a certificate of

 appealability, this court states that it declines to issue a

 certificate of appealability.          Even assuming Winkles applies to

 Gouveia’s case, Gouveia does not meet the two-part Winkles test

 for the issuance of a certificate of appealability.

             The first prong of the Winkles test requires a movant

 to show that “jurists of reason would find it debatable whether


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 the district court abused its discretion in denying the Rule

 60(b) motion.”    795 F.3d at 1143.          As explained above, this court

 asserts that it could not have abused its discretion in denying

 Gouveia’s Rule 60(b) motion because this court did not deny the

 motion at all.    But assuming the transfer of the motion to the

 Ninth Circuit could be construed as a denial of the Rule 60(b)

 motion, this court does not think jurists of reason would find it

 debatable that the transfer was required by § 2255(h).

            The second prong of the Winkles test requires a movant

 to show that “jurists of reason would find it debatable whether

 the underlying section 2255 motion states a valid claim of the

 denial of a constitutional right.”            795 F.3d at 1142.       This

 court, noting its lack of jurisdiction, did not rule on the

 validity of any claim Gouveia advanced in his purported Rule

 60(b) motion.    Thus, this court provided nothing for jurists of

 reason to debate with respect to the validity of any claim.                  In




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 any event, because Gouveia clearly does not satisfy the first

 prong of the Winkles test, he is not entitled to the issuance

 from this court of a certificate of appealability, even assuming

 the Winkles test applies here.

              IT IS SO ORDERED.


              DATED: Honolulu, Hawaii, November 14, 2016.




                                   /s/ Susan Oki Mollway
                                  Susan Oki Mollway
                                  United States District Judge



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 SOM/RLP; ORDER DECLINING TO ISSUE CERTIFICATE OF APPEALABILITY




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